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                       UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

In re:

Catherine A. Warner,                                                Case No.: 6:21-bk- 04382-LVV

Debtor.
----------I
         DEBTORS' OBJECTION TO CLAIM NO. 2 OF WELLS FARGO BANK, N.A.

          COMES NOW, the Debtor, Catherine A. Warner, by and through her undersigned counsel,

and hereby files this Objection to Claim No.: 2 of Wells Fargo Bank, N.A. ("Creditor"), and as

grounds therefore states as follows:

                               NOTICE OF OPPORTUNITY TO
                            OBJECT AND REQUEST FOR HEARING

     Ifyou object to the reliefrequested in this paper you must file a response with the Clerk of Court
 at 400 W. Washington St., Suite 5100, Orlando FL 32801, and mail a copy to the moving party at
 Anne-Marie L. Bowen, Esq., 816 N. Thornton Ave., Orlando, FL 32803 within 30 days from the date
 of the attached proof of service, plus an additional three days if this paper was served on any party
 by U.S. Mail.

     If you file and serve a response within the time permitted, the Court will either notify you of a
 hearing date or the Court will consider the response and grant or deny the relief requested in this
 paper without a hearing. If you do not file a response within the time permitted, the Court will
 consider that you do not oppose the relief requested in the paper, and the Court may grant or deny
 the relief requested without further notice or hearing.

    You should read these papers carefully and discuss them with your attorney if you have one. If
 the paper is an objection to your claim in this bankruptcy case, your claim may be reduced,
 modified, or eliminated if you do not timely file and serve a response.




          1.     The Debtor objects to Claim No. 2 filed by Creditor, in the secured amount of

$71,659.09, with an alleged amount necessary to cure any default of$6.53. Specifically, the Debtor

objects to the alleged arrearage of $6.53.
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       2.      The alleged arrearage is for a projected escrow deficiency. However, on page 8 of36

of said claim No. 2, Creditor states, "The account balance is sufficient. Our review shows no

projected shortage or overage."

       3.      In addition, on page 9 of 36 of said claim, Creditor shows an Escrow

overage/shortage of $0.00.

       WHEREFORE, the Debtor respectfully requests the Court to sustain her objection to Claim

No. 2, to allow Claim No. 2 in the secured amount of $71 ,659.09, with $0.00 for the amount

necessary to cure any default, and for such other and further relief that is deemed just and equitable.


                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY, that a true and correct copy of the foregoing has been furnished

by Certified mail, Return Receipt Requested to Wells Fargo Bank, N .A., ATTN: Officer, Managing,

or General Agent, Default Document Processing, MAC# N9286-01 Y, P .0. Box 1629, Minneapolis,

MN 55440-9790; and by Electronic Notice or First Class U.S. Mail postage pre-paid to : Josephine

E. Salmon, agent for Creditor, Aldridge Pite, LLP, P.O. Box 17933, San Diego CA, 92177-0933 ;

Laurie K. Weatherford, Trustee, P.O. Box 3450, Winter Park, FL 32790-3450; and Catherine A.

Warner, 4366 White Pine Ave. , Orlando FL, 32811 , on this ~            ay of January, 2022.




                                                     j c~ t ed,
                                                       ~            L. Bowen, Esq.
                                                       Florida Bar No.: 708161
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                                                       Orlando, FL 32803
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